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                           THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.,


                    Plaintiffs,

         v.                                          Civil Action No. 1:25-cv-00429

 ELON MUSK, in his official capacity, et al.,


                    Defendants.


 JAPANESE AMERICAN CITIZENS
 LEAGUE, et al.,


                    Plaintiffs,
                                                     Civil Action No. 1:25-cv-00643
         v.

 ELON MUSK, in his official capacity, et al.,


                    Defendants.


                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully submit this notice of supplemental authority to apprise this Court of

the Supreme Court’s opinion in NRC v. Texas, --- S. Ct. ----, 2025 WL 1698781 (2025), which was

issued on June 18, 2025.

       In NRC v. Texas, the Supreme Court confirmed the framework for considering nonstatutory,

ultra vires review, 2025 WL 1698781, at *8-9, which Plaintiffs have invoked in these consolidated

cases. See JACL Compl. ¶¶ 322-25 (Count One: “Ultra Vires”); see also New Mexico Compl. ¶¶ 261-72

(Count II: “Conduct in Excess of Statutory Authority”). As the Court explained, “[b]efore enactment

of the APA . . . courts sometimes entertained ‘a bill in equity to attack administrative action when no

statutory review was available.’” Id. at *8 (citation omitted). The Court emphasized that has not been
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the case since the passage of the APA “[b]ecause ultra vires review could become an easy end-run

around the limitations of . . . judicial-review statutes, this Court’s subsequent cases have strictly limited

nonstatutory ultra vires review to the ‘painstakingly delineated procedural boundaries of” Leedom v.

Kyne, 358 U.S. 184 (1958), the “leading case on post-APA ultra vires review.’” Id. at *9. The Court

further underscored that “[t]he Kyne exception is a narrow one . . .” and it “applies only when an agency

has taken action entirely in excess of its delegated powers,” NRC, 2025 WL 1698781 at *9 (cleaned

up) (emphasis added), and “contrary to a specific prohibition in a statute.,” id. (emphasis in original).

        The Court also confirmed that, among other restrictions, nonstatutory review is “unavailable

if, as is usually the case, a statutory review scheme provides aggrieved persons ‘with a meaningful and

adequate opportunity for judicial review[.]’” Id. (quoting Board of Governors, FRS v. MCorp Financial,

Inc., 502 U.S. 32, 43 (1991)). Thus, the Court recognized a nonstatutory ultra vires claim “‘is essentially

a Hail Mary pass—and in court as in football, the attempt rarely succeeds.’” Id. at *9 (quoting Nyunt

v. Chairman, Broadcasting Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009)).

        Defendants’ arguments in support of dismissing the ultra vires claim in JACL are substantially

consistent with the Supreme Court’s recent decision. See generally ECF Nos. 90, 104. In New Mexico,

however, this Court expressly recognized that the “States do not claim that Defendants violated a

specific statutory prohibition” but nonetheless denied Defendants’ motion to dismiss their ultra vires

claim, because “[c]onduct in violation of specific statutory limitations ‘is just one example of an ultra

vires act—not the only example of an ultra vires action.’” ECF No. 93 at 35-36 (citation omitted).

That reasoning is at odds with NRC. The Supreme Court made clear that the only cognizable form

of ultra vires review are the cases that fit the mold of Kyne, i.e. “contrary to a specific prohibition in a

statute.” See NRC, 2025 WL 1698781 at *9 (“[plaintiffs] basically dress up a typical statutory-authority

argument as an ultra vires claim. That is a fairly common maneuver when a litigant tries to squeeze its

arguments into the Leedom v. Kyne box—and is in large part why those claims rarely succeed.”). Thus,

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courts should not override judicial review procedures that Congress creates by statute with judge-

made causes of action. Id. at *8-9. The Court should thus grant Defendants’ motion to dismiss Count

I of the JACL Plaintiffs’ Complaint.

Dated: June 24, 2025                                 Respectfully submitted,

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